                                                                                             Plaintiff's Exhibit 4

    CHASE O                                                                 November 01, 2022 through November 30, 2022
    JPMorgan Chase Bank, NA                                                                                    1535
                                                                               Primary Account:
    P O Box 182051
    Columbus. OH 43218-2051
                                                                          CUSTOMER SERVICE INFORMATION
                                                                          Web site:                    www.Chase.com
                                                                          Service Center:                1 -877-425-8100
   00022453 DRE 201 210 33722 NNNNNNNNNNN 1 0000C0000 D2 0000             ParaEspanol:                   T888-622-4273
   EMPIRE COUNTERTOPS, LLC                                                International Calls:           1-713-262-1679
   1137 ENTERPRISE DR
   PILOT POINT TX 76258-4300




                                                                                                                                      (X)?24b301U
CONSOLIDATED BALANCE SUMMARY
ASSETS
                                                            ACCOUNT                    BEGINNING BALANCE         ENDING BALANCE
Checking & Savings                                                                             THIS PERIOD              THIS PERIOD

Chase Platinum Business Checking                                1535                              S28,205.28            S31,615.01
Chase Platinum Business Checking                                7160                                  410.87                410.87
Chase Business Premier Savings                                  1185                              178,350.62            105,352.35
Total                                                                                            $206,966.77           $137,378.23


TOTAL ASSETS                                                                                     S206.966.77           S1 37,378.23




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CHASE PLATINUM BUSINESS CHECKING
EMPIRE COUNTERTOPS, LLC                                                             Account Number:                       1535



CHECKING SUMMARY                                                                                                            —
                                             INSTANCES                    AMOUNT
Beginning Balance                                                      $28,205.28
Deposits and Additions                                6                 82,860.66
Checks Paid                                           2                 -3,265.00
ATM & Debit Card Withdrawals                         12                 -4,828.06
Electronic Withdrawals                               10
Fees                                                  1                   -150.00
Ending Balance                                      31                 $31,615.01




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